               Case 2:03-cr-00257-CJB-SS                      Document 1302            Filed 08/26/08            Page 1 of 1
O LAED 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                         Eastern District
                                                      __________  DistrictofofLouisiana
                                                                               __________

                   United States of America                            )
                              v.                                       )
                      Russell Washington                               )   Case No: 03-257
                                                                       )   USM No: 28534-034
Date of Previous Judgment:                     08/24/2005              )   Thomas Calagero
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of ✔   ’ the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       ’ DENIED. ✔  ’ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 204 months as to Counts 1 & 3 is reduced to 188 Months .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    35                Amended Offense Level:                                               33
Criminal History Category: II                Criminal History Category:                                           II
Previous Guideline Range:  188 to 235 months Amended Guideline Range:                                             151      to 188 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
✔ The reduced sentence is within the amended guideline range.
’
’ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
’ Other (explain):




III. ADDITIONAL COMMENTS
     If this sentence is less than the amount of time the defendant has already served, then this sentence is reduced to
     a "time served" sentence.
     As the previous sentence, all terms of imprisonment shall run concurrently.


Except as provided above, all provisions of the judgment dated                08/24/2005      shall remain in effect.
IT IS SO ORDERED.

Order Date:                 08/26/2008
                                                                                                    Judge’s signature


Effective Date:             08/31/2008                                        Hon. Stanwood R. Duval, Jr., U.S. District Judge
                     (if different from order date)                                               Printed name and title
